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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

DANIEL W. RUDD,

       Plaintiff,                                  Case No. 1:18-cv-124

v.                                                 HON. GORDON J. QUIST/KENT
                                                   MAG. JUDGE RAY KENT
CITY OF NORTON SHORES,
MAYOR GARY NELUND, MARK MEYERS,
DANIEL SHAW, MATTHEW RHYNDRESS,
MICHAEL WASILEWSKI, JON GALE,
CHRIS MCINTIRE, MELISSA MEYERS,
MICHELLE MCLEAN, JOEL BAAR,
BOLHOUSE, BAAR & HOFSTEE PC.,
WILLIAM HUGHES PLLC, DOUGLAS
HUGHES,

        Defendants.
____________________________________________________________________
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            BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR SANCTIONS

I.     INTRODUCTION.

       Plaintiff’s motion for sanctions filed against the Norton Shores Defendants appears

to be his opening salvo in a series of sanction motions to be filed in this Court. Norton

Shores Defendants consider Plaintiff’s motion, itself, to have been brought for an improper

purpose. Plaintiff seeks relief which is not warranted by Rule 11. Norton Shores Defendants

submit Plaintiff’s Motion for Rule 11 Sanctions must be denied. Although the Norton Shores

Defendants will not proceed on a similar motion at this particular point in time, this Court

certainly has the inherent authority, and authority under Rule 11, to impose sanctions

upon Plaintiff if it deems that to be necessary to deter Plaintiff’s litigation antics.

       Norton Shores Defendants shall first provide this Court with pertinent procedural

background leading up to and subsequent to the filing of Plaintiff’s instant motion. Norton

Shores Defendants shall then provide this Court with analysis and argument directed to

Plaintiff’s theories for sanctions.

II.    PROCEDURAL BACKGROUND.

       On August 8, 2018, this Court issued its Opinion and Order granting co-Defendant

McIntire’s motion to dismiss. This Court then issued an order setting a Rule 16 Scheduling

Conference to take place on September 13, 2018. In preparation for the filing of the Joint

Status Report, Plaintiff had numerous e-mail communications with counsel for the

remaining Defendants. On August 29, 2018, attorney Michelle McLean advised Plaintiff of

their intent to file a Motion to Dismiss the first week of September, 2018. Exhibit A. On

September 6, 2018, counsel for Melissa Meyers advised Plaintiff of their intent to file a

Motion for Judgment on the Pleadings. Exhibit B. On September 10, 2018, counsel for


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Norton Shores advised Plaintiff of their plan to file a Motion for Judgment on the Pleadings.

Exhibit C. Norton Shores’ counsel also advised Plaintiff of Norton Shores’ position that

discovery be stayed until all the motions for judgment on the pleadings are decided.

Exhibit D. The Joint Status Report was filed in this case on September 10, 2018. The Norton

Shores’ Defendants could not have been more explicit in the Joint Status Report, setting

forth in bold type, the following:

        It is the understanding of Norton Shores Defendants that all Defendants
        are going to be filing separate Rule 12 motions to dismiss soon. It is
        recommended that discovery be stayed until such time that those
        motions are decided by the Court.

        ECF No. 57, PageID 380.

        The Bolhouse Motion to Dismiss was filed on September 10, 2018. The Motion to

Dismiss filed by co-Defendant Melissa Myers was filed on September 11, 2018. Norton

Shores’ Motion for Judgment on the Pleadings was filed on September 11, 2018. On

September 12, 2018, the Rule 16 Conference to be held the next day was adjourned without

date.

        Plaintiff served a voluminous request to produce documents on the City of Norton

Shores Defendants on September 18, 2018. Norton Shores Defendants’ filed a Motion for

Protective Order to stay discovery until the Motions for Judgment on the Pleadings have

been decided by this Court. Following oral argument, this Court entered its order granting

Defendants’ motion for protective order.

        On September 26, 2018, counsel for Norton Shores Defendants responded to

Plaintiff’s inquiry regarding his desired stipulation to file the Motion for Rule 11 Sanctions.

Counsel for Norton Shores Defendants responded in pertinent part as follows:



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          As to the proposed stipulation, I will not agree to it. I believe the proposed
          motion for sanctions is itself a pleading which could warrant sanctions. I am
          not certain whether I would seek Rule 11 sanctions, federal judges are not
          eager to be drawn into such contests if at all possible.

          Exhibit E.

          Plaintiff nevertheless filed the instant motion. Plaintiff also has threatened the co-

Defendants with similar motions for Rule 11 sanctions. He filed his proof of mailing the

Rule 11 motion for sanctions against counsel for co-Defendants on November 8, 2018. ECF

No. 85.

III.      ANALYSIS AND ARGUMENT.

          A.     Overview Of Rule 11.

          In pertinent part, Fed. R. Civ. P. 11 provides as follows:

          (b) REPRESENTATIONS TO THE COURT. By presenting to the court a
          pleading, written motion, or other paper - whether by signing, filing,
          submitting, or later advocating it – an attorney or unrepresented party
          certifies to the best of the person’s knowledge, information, and belief,
          formed after an inquiry reasonable under the circumstances:

          (1)    It is not being presented for any improper purpose such as to harass,
                 cause unnecessary delay, or needlessly increase the cost of litigation;

          (2)    The claims, defenses, and other legal contentions are warranted by
                 existing law or by a non-frivolous argument for extending, modifying,
                 or reversing existing law or for establishing new law;

          (3)    The factual contentions have evidentiary support or, if specifically so
                 identified, will likely have evidentiary support after a reasonable
                 opportunity for further investigation or discovery; and

          (4)    The denials of factual contentions are warranted on the evidence or, if
                 specifically so identified, are reasonably based on belief or lack of
                 information.

          (C) SANCTIONS.

          ….


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       (4)     Nature of a sanction. A sanction imposed under this rule must be
               limited to what suffices to deter repetition of the conduct or
               comparable conduct by other similarly situated. The sanction may
               include nonmonetary directives; an order to pay a penalty into the
               court; or, if imposed on motion and warranted for effective
               deterrence, an order directing payment to the movant of part or all of
               the reasonable attorney’s fees and other expenses directly resulting
               from the violation.

       The test for imposing sanctions under Rule 11 is whether the conduct of the litigant

was “reasonable under the circumstances.” Salkil v. Mt. Sterling Twp. Police Dep’t., 458 F.3d

520, 528 (6th Cir. 2006). The standard under which the behavior of an attorney is measured

is an objective, not a subjective standard. Whitehead v. Food Max of Mississippi, 332 F.3d

796, 802 (5th Cir. 2003). Courts have the inherent authority, on their own, to impose

appropriate sanctions upon litigants who violate Rule 11. Schakosky v. Client Serv's., Inc.,

634 F. Supp. 2d 732, 738 (E. D. TX, 2007).

       The Notes of the Advisory Committee on the 1993 Amendment to Rule 11 have

particular applicability in this matter. The Advisory Committee specifically declared

“attorneys and pro se litigants have an obligation to the court to refrain from conduct that

frustrates the aims of Rule 1.1 The revision broadens the scope of this obligation, but places

greater constraints on the imposition of sanctions and should reduce the number of

motions for sanctions presented to the court.” Further, the Committee noted “Rule 11

motions should not be made or threatened for minor, inconsequential violations of the

standards prescribed by subdivision (b) ….[n]or should Rule 11 motions be prepared to

emphasize the merits of a party’s position, to exact an unjust settlement, to intimidate an

adversary into withdrawing contentions that are fairly debatable … “ Further, the


1 The Rules of Civil Procedure “shall be construed and administered to secure the just, speedy, and
inexpensive determination of every action.”

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Committee declared “[a]s under former Rule 11, the filing of a motion for sanctions is itself

subject to the requirements of the rule and can lead to sanctions. However, service of a

cross-motion under Rule 11 should rarely be needed since under the revision the court

may award to the person who prevails on a motion under Rule 11 – whether the movant or

the target of the motion – reasonable expenses, including attorney’s fees, incurred in

presenting or opposing the motion.” It is with these legal principles and admonitions that

plaintiff’s motion should be analyzed.

       B.     Plaintiff’s Motion Is A Disguised Argument On The Motion For Judgment
              On The Pleadings.

       Plaintiff seems to take great umbrage to Norton Shores Defendants’ interpretation

of the allegations in his Complaint. He spends an exhaustive amount of time arguing

various allegations, and the inferences which should be drawn from these allegations.

       He accuses Norton Shores Defendants of omitting “relevant factual claims.” Notably

absent from Plaintiff’s briefing and argument is any connection between this alleged

transgression and any prohibited conduct under Rule 11. Perhaps Plaintiff is relying on an

argument the factual contentions of Norton Shores Defendants, or denials of the same do or

do not have evidentiary support. Norton Shores Defendants’ Motion is for Judgment on the

Pleadings, pursuant to Fed. R. Civ. P. 12(c). As such, it does not rely on any “facts.” Instead,

the motion is predicated solely on any well-pled allegations set forth in Plaintiff’s complaint

and whether, based upon those, Norton Shores Defendants are entitled to judgment as a

matter of law. Plaintiff certainly had every opportunity in his Brief in Opposition, ECF No.

72, to argue whether his well-pled allegations of fact state claims for a conspiracy amongst

all co-Defendants to violate his federal constitutional rights. Plaintiff has made it clear he

intends his Rule 11 motions to be utilized by this Court in deciding the pending Rule 12(c)
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motions. He has advised co-Defendant McLean “resolution of the sanctions motions would

provide a more informal determination on the 12(c) motions.” Exhibit F. Similarly, he

advised counsel for the Bolhouse Defendants “the objectionable content is material to the

Court’s 12(c) determination.” Exhibit B. Plaintiff must not be allowed to utilize a motion

for sanctions, pursuant to Fed. R. Civ. P. 11, to further argue his points in response to a

dispositive motion.

       C.     Plaintiff’s “Quasi Collateral Estoppel” Argument.

       Plaintiff infers Norton Shores Defendants’ Rule 12(c) motion is improper because

this Court already somehow ruled in Plaintiff’s favor in its August 8, 2018 Opinion. He

asserts this Court has identified non-conclusory factual allegations upon which a plausible

inference of conspiracy can be drawn. See ECF No. 78, PageID 680, “Plaintiff’s First

Amendment Retaliation claims against the City were allowed to go forward.” ECF No. 78,

PageID 686. As such, Plaintiff seems to argue Norton Shores Defendants should be

collaterally estopped from litigating the factual sufficiency of Plaintiff’s allegations of

conspiracy.

       Plaintiff did not come out and identify collateral estoppel or the law of the case as

one of the principles upon which he relies for pursuing Rule 11 sanctions. He could not do

so, of course. Collateral estoppel, or issue preclusion, requires three elements to apply: a

question of fact essential to a judgment must have been actually litigated and determined

to a valid and final judgment; the same parties must have had a full and fair opportunity to

litigate the issue; and there must have been a mutuality of estoppel. See, Watermark Senior

Living Retirement Comm., Inc. v. Morrison Mgmt. Specialist, Inc., 905 F.3d 421, 426 (6th Cir.

2018). Clearly, none of those elements exist in this case relative to Norton Shores


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Defendants. Accordingly, Plaintiff’s arguments predicated upon Norton Shores improperly

filing a Motion for Judgment on the Pleadings following this Court’ s August 8, 2018

Opinion and Order on McIntire’s Motion to Dismiss must fall on death ears.

       D.      Plaintiff’s “Bad Behavior” Argument Must Be Rejected.

       Plaintiff also expresses great umbrage with the use of the phrase “the huberous this

exhibits is stunning” in Norton Shores Defendants’ brief. Plaintiff feigns hypersensitivity to

legitimate legal rhetoric. But that is not all. He expresses even greater umbrage to a

comment counsel made to him in an email in which it was stated “Mr. Rudd: There will be

no meeting at the Grand Rapids Office. I have had a chance to review the FOIA lawsuit, and

am rather appalled at the treatment afforded to Ms. Hall in that case. Any conference shall

be by telephone. All parties must be represented in any conference call.” ECF No. 77-1,

PageID 671. Notably absent from that email, however, was any reference to Plaintiff having

treated Ms. Hall in any manner. This hypersensitivity demonstrated by interpreting the

email as an accusation that Plaintiff had treated Ms. Hall improperly, or poorly, speaks

volumes to the manner in which he interprets events or comments which he hears.

       More fundamentally, the two comments which Plaintiff personally finds to be

offending are not the type of behaviors which warrant the imposition of sanctions pursuant

to Fed. R. Civ. P. 11. It is submitted Plaintiff is attempting to pick a fight where there is none

in order to gain some tactical advantage in this lawsuit.

       E.      Plaintiff’s Claim Of Obstructionist Conduct And Abuse Of Litigation
               Tactics Must Be Rejected.


       In conclusory manner, Plaintiff alleges that Norton Shores Defendants have engaged

in obstructionist conduct and abusive of litigation tactics. ECF No. 78, PageID 687-688.


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Plaintiff suggests counsel for Norton Shores Defendants obstructed the preparation of the

Joint Status Report. A cursory review of the emails which Plaintiff attaches to his Motion

and Brief demonstrates otherwise. ECF No. 77-1, PageID pages 666-668, 674,675.

      It is submitted Plaintiff’s Motion for Sanctions itself has been brought for an

improper purpose. He sought the withdrawal of Norton Shores Defendants’ Motion for

Judgment on the Pleadings before filing his Motion. He similarly is threatening co-

Defendants with defending against a Motion for Rule 11 Sanctions if they do not withdraw

their Motions for Judgment on the Pleadings. It is submitted Rule 11 was not intended to be

utilized as a bludgeon against an opponent. The withdrawal of an appropriate dispositive

motion should not be the quid pro quo for the avoidance of defending against a Rule 11

Motion for Sanctions.

      F.     Plaintiff’s Requested Relief Is Unwarranted.

      As relief, Plaintiff requests this Court to either appoint a special master to oversee

discovery disputes and production of documents, with all expenses shifted to the law firm

of Plunkett Cooney; or payment by Plunkett Cooney of a retainer for Plaintiff to obtain an

attorney. ECF No. 78, PageID 689. This does not meet Rule 11’s mandate that any relief be

fashioned to deter improper litigation behavior. Once again, reference is made to the

notes of the Advisory Committee on the 1993 Amendments to Rule 11:

      Since the purpose of Rule 11 sanctions is to deter whether than to
      compensate, the rule provides that, if a monetary sanction is imposed, it
      should ordinarily be paid into court as a penalty. However, under unusual
      circumstances, particularly for [subdivision] (b)(1) violations, deterrence
      may be ineffective unless the sanction not only requires a person violating
      the rule to make a monetary payment, but also directs that some or all of this
      payment be made to those injured by the violation. Accordingly, the rule
      authorizes the court, if requested in a motion and if so warranted, to award
      attorney fees to another party. Any such award to another party, however,


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       should not exceed the expenses and attorney fees for the services directly
       and unavoidably caused by the violation of the certification requirement.

       Plaintiff’s requested relief magnifies the frivolous nature of his motion. Neither of

his requested alternatives is tailored to the deterrence principle underlying the Rule which

is envisioned pursuant to the Advisory Committee comments. Plaintiff’s request for

appointment of a special master to handle discovery disputes is nonsensical, in light of this

Court having granted Defendants’ Motion for Protective Order to Stay Discovery. Plaintiff’s

suggestion that counsel for Norton Shores pay Plaintiff’s retainer fee for an attorney

traverses into the realm of the offensive.

IV.    CONCLUSION.

       As set forth, infra, Rule 11 sanctions are to deter conduct which detracts from the

laudable goals of the Federal Rules of Civil Procedure to ensure the just, speedy, and

inexpensive determination of every action. Norton Shores Defendants have not engaged in

any such behavior. Plaintiff’s instant motion, however, is the antithesis of the purposes to

be served by the Federal Rules of Civil Procedure. Plaintiff’s behavior is being magnified by

his threats to file motions for Rule 11 sanctions against the co-Defendants. Norton Shores

Defendants respectfully submits that Plaintiff’s Motion for Sanctions must be denied by this

Court. Norton Shores Defendants further submit that although they have not moved for

such, this Court should carefully consider whether Plaintiff’s litigation behavior, with Rule

11 Motions being filed, warrant the imposition of sanctions upon him to deter such similar

conduct on a going forward basis.




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Dated: November 9, 2018            Respectfully submitted,

                                   PLUNKETT COONEY



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